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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Case: 1:18-m|-OO444

 

Assigned To : Meriweather, Robin M.
lN RE APPLICATION OF THE ASSlgf`l. Date § 6/22/2018
UNITED STATES OF AMERICA FOR D€SCl'lpthn§ MlSC. UNSEALED
AN ORDER PURSUANT TO

18 U.S.C. § 3512

Request from Mexico for Assistance in a
Criminal Matter: Bank Records

 

DOJ Ref. # CRM-182-64126

APPLICATION OF THE UNITED STATES
FOR AN ORDER PURSUANT TO 18 U.S.C. § 3512

The United States of America, moving by and through its undersigned counsel,
respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,
appointing the undersigned attomey, Aaron P. Gershbock, Trial Attorney, Ofiice of International
Affairs (or a substitute or successor subsequently designated by the Oft`ice of International
Affairs), as a commissioner to collect evidence from witnesses and to take such other action as is
necessary to execute a request for assistance in a criminal matter from the United Mexican States
(Mexico). In support of this application, the United States asserts:

RELEVANT FACTS

l. The Ofiice of the Attorney General of the Republic of the United Mexican States
submitted a request for assistance (the Request) to the United States pursuant to the Treaty on
Cooperation Between the United States of America and the United Mexican States for Mutual
Legal Assistance, MeX.-U.S., Dec. 9, 1987, S. TREATY DOC. NO. 100-13 (the Treaty). As

stated in the Request, the Agent of the Federal Public Prosecutor, Head of the Fourth

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Investigative Agency of Tij uana, Baja Califomia is investigating a crime, specifically, violation
of the Law of Credit Institutions, Which occurred on or about October 7, 2016, in violation of
Article 112 Ter and Article 112 Bis of the LaW of Credit Institutions. A copy of the applicable
law is included as Attachment A to this application. Under the Treaty, the United States is
obligated to render assistance in response to the Request.

2. According to Mexican authorities, on October 7, 2016, the Municipal Police
stopped Sergio Carrola J ones (Jones) for throwing garbage in the street in Tij uana, in violation of
a local laW. After stopping Jones, the Mexican police ascertained that a Warrant had been issued
for his arrest in connection to certain drug crimes. Mexican police searched J ones and found a
large number of bank cards on his person, including cards issued by banks in the United States.
These cards included four JPMorgan Chase cards (XXXXXXXXXXXXOZ$S,
XXXXXXXXXXXX8792, XXXXXXXXXXXX2560, and XXXXXXXXXXXX2361), three
Bank of America cards (XXXXXXXXXXXX8792, XXXXXXXXXXXX7860, and
XXXXXXXXXXXX5260), one Wells Fargo Platinum Debit Card (XXXXXXXXXXXX2910),
one Union Bank card (XXXXXXXXXXXX3 609), and one TD Bank card
(XXXXXXXXXXXX4852). Mexican authorities suspect that the cards may have been stolen.

3. To further the investigation, Mexican authorities have asked U.S. authorities to
provide bank records from JPMorgan Chase, Bank of America, Wells Fargo, Union Bank, and
TD Bank pertaining to the bank card numbers as listed above.

LEGAL BACKGROUND
The Treaty
4. A treaty constitutes the law of the land. U.S. Const. art. VI, cl.2. The provisions

of a treaty have equal footing With acts of Congress and are binding on the courts. §§ Asakura

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v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);
United States v. Emuegbunam 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty
should be construed liberally “to give effect to the purpose which animates it.” United States v.
M, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the
provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes
the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

5. The United States and Mexico entered into the Treaty to promote more effective
cooperation and assistance between the parties in criminal matters. _S_e§ Treaty, Article 1(1). The
Treaty obligates each party, upon request, to provide assistance to the other in criminal
investigations, prosecutions, and related proceedings, including assistance in serving documents,
obtaining testimony, statements, and records, and executing searches and seizures. Treaty,
Article 1(4). In addition, the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use
compulsory measures to further the execution of such requests. Treaty, Article 1(1) (“The
competent judicial authorities . . . of the Requested State shall have power to issue subpoenas,
search warrants or other orders necessary to execute the request”).

18 U.S.C. § 3512

6. When executing a treaty or non-treaty request for assistance from a foreign
authority, an attorney for the government may flle an application to obtain any requisite court
orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and
provides in pertinent part:

Upon application, duly authorized by an appropriate official of the Department of

Justice, of an Attorney for the Government, a F ederal judge may issue such orders

as may be necessary to execute a request from a foreign authority for assistance in

the investigation or prosecution of criminal offenses, or in proceedings related to

the prosecution of criminal offenses, including proceedings regarding forfeiture,
sentencing, and restitution

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[A]n application for execution of a request from a foreign authority under this
section may be filed . . . in the District of Columbia.

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The term “foreign authority” means a foreign judicial authority, a foreign

authority responsible for the investigation or prosecution of criminal offenses or

for proceedings related to the prosecution of criminal offenses, or an authority

designated as a competent authority or central authority for the purpose of making

requests for assistance pursuant to an agreement or treaty with the United States
regarding assistance in criminal matters.
18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

7. Congress enacted this section to make it “easier for the United States to respond
to [foreign] requests by allowing them to be centralized and by putting the process for handling
them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.
Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.
2()86.1 This section provides clear authority for the federal courts, upon application duly
authorized by an appropriate official of the Department of Justice, to issue orders which are
necessary to execute a foreign request.

8. An application is duly authorized by an appropriate official of the Department of

Justice when the Oftice of Intemational Affairs, which serves as the “Central Authority” for the

 

1 Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign
authorities §§ In re Request from the United Kingdom, 685 F.3d l, 11 (1st Cir. 2012) ( 18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were previously executed); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247~49
(2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated that
improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schift).

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United States, has reviewed and authorized the request, and executes the request itself or
delegates execution to another attorney for the government2 Upon such a duly authorized
application, Section 3512 authorizes a federal judge3 to issue “such orders as may be necessary
to execute [the] request,” including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for
electronic records under 18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices
under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the taking of testimony or
statements and/or the production of documents or other things. w 18 U.S.C. § 3512(a)(1)-
(b)(l). In addition, a federal judge may prescribe any necessary procedures to facilitate the
execution of the request, including any procedures requested by the foreign authority to facilitate
its use of the evidence. §_e§ In re Letter of Request from the Crown Prosecution Service of the
United Kingdom, 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing
procedures to be followed in executing foreign request under 28 U.S.C. § 1782); c_f. M
National Football Leag@, 41 F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary
to facilitate disposition of matter before it); Fed. R. Crim. P. 57(b).

9. Section 3512 also authorizes any person appointed to direct the taking of
testimony or statements and/or the production of documents or other things to: (1) issue an order
requiring a person to appear and/or produce documents or other things; (2) administer any
necessary oaths; (3) take testimony or statements; and (4) take receipt of documents or other

things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents or

 

2 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of lnternational Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters §§ 28 C.F.R. 0.64-1, 0.64-47 and Appendix to Subpart K, Directive Nos. 81A and 81B.

3 The term “federal judge” includes a magistrate judge. w 18 U.S.C. § 3512(h)(1) and Fed. R. Crim. P.
1(b)(3 )(B) (including a magistrate judge in the definition of federaljudge).

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other things, the person appointed, commonly referred to as the “commissioner,” typically uses a
subpoena entitled “Commissioner Subpoena.” Any such subpoena or any other order, subject to
subsection (d), may be served or executed anywhere in the United States 18 U.S.C. § 3512(f).
A copy of a “Commissioner Subpoena” is included as Attachment B.

REOUEST FOR ORDER

10. The Office of International Affairs has reviewed and authorized the Request, and
is executing the Request itself. Consequently, this application for an Order appointing the
undersigned attorney as a commissioner to collect evidence from witnesses and to take such
other action as is necessary to execute the Request has been “duly authorized” within the
meaning of Section 3512. In addition, the Request was submitted by an appropriate “foreign
authority,” i.e., the Office of the Attorney General of the Republic of the United Mexican States,
the designated Central Authority in Mexico for requests made pursuant to the Treaty, and seeks
assistance in the investigation of violation of the Law of Credit Institutions, a criminal offense in
Mexico. Furthermore, the requested Order is necessary to execute the Request, and the
assistance requested, i.e., the production of bank records, falls squarely within that contemplated
by both the Treaty and Section 3512. Finally, this application was properly filed in the District
of Columbia.

11. Both Section 3512 and the Treaty authorize the use of compulsory process in the
execution of treaty requests comparable or similar to that used in domestic criminal
investigations or prosecutions Because subpoenas utilized in U.S. criminal proceedings (i.e.,
grand jury and criminal trial subpoenas) are issued without notice to any person other than the
recipient (i.e., no notice to targets or defendants), orders and commissioner subpoenas issued in

execution of a treaty request pursuant to Section 3512 and the applicable treaty likewise should

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require no notice other than to the recipients This is true even if the Requesting State, as here,
seeks financial records, because the Right to Financial Privacy Act, 12 U.S.C. §§ 3401 et seq.,
including its notice provisions, does not apply to the execution of foreign requests for legal
assistance Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989), cert. denied, 493
U.S. 1072 (1990); In re Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.
204, 211 (S.D.N.Y. 1993); ln re Letter of Request for Judicial Assistance from the Tribunal Civil
de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this
Court should authorize a commissioner to collect the evidence requested without notice to any
person other than the recipients of the commissioner subpoenas4
12. Therefore, the United States respectiiilly requests that this Court issue the
attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Aaron P.

Gershbock, Trial Attorney, Office of lntemational Affairs (or a substitute or successor

subsequently designated by the Office of Intemational Affairs) as a commissioner, authorizing

 

4 Mexican authorities have not asked U.S. authorities to keep the Request confidential Accordingly, the
United States is not seeking authorization to issue a non-disclosure order, nor is it seeking an order to seal
the court file.

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the undersigned to take the actions necessary, including the issuance of commissioner subpoenas,

to obtain the evidence requested in a form consistent with the intended use thereof.

Respectfully submitted,

VAUGHN A. ARY

DIRECTOR

OFFICE OF INTERNATIONAL AFFAIRS
OK Bar Number 12199

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Aaron P. Gershbock y

Trial Attorney

CA Bar Number 266351

Office of Inteinational Affairs

Criminal Division, Department of Justice

1301 New York Avenue, N.W., Suite 800
Washington, D.C. 20530

(202) 616-5275 telephone
Aaron.Gershbock@usdoj . gov

